$2 5HY 'HWHQWLRQ2UGHU3HQGLQJ7ULDO0,:' 5HY
                        Case 1:10-cr-00280-RJJ                                  ECF No. 32, PageID.45                                  Filed 09/28/10                      Page 1 of 1
                                    UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN

                             8QLWHG6WDWHVRI$PHULFD                                                                      ORDER OF DETENTION PENDING TRIAL
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                             Edward Serrells Pearson                                                                       &DVH1R 1:10 Cr 280-2
                                             Defendant


            $IWHUFRQGXFWLQJDGHWHQWLRQKHDULQJXQGHUWKH%DLO5HIRUP$FW86& I ,FRQFOXGHWKDWWKHVHIDFWVUHTXLUH
WKDWWKHGHIHQGDQWEHGHWDLQHGSHQGLQJWULDO
                                                                                  Part I±Findings of Fact
  7KHGHIHQGDQWLVFKDUJHGZLWKDQRIIHQVHGHVFULEHGLQ86& I  DQGKDVSUHYLRXVO\EHHQFRQYLFWHGRI
               DIHGHUDORIIHQVHDVWDWHRUORFDORIIHQVHWKDWZRXOGKDYHEHHQDIHGHUDORIIHQVHLIIHGHUDOMXULVGLFWLRQKDG
               H[LVWHG±WKDWLV
                DFULPHRIYLROHQFHDVGHILQHGLQ86& D  RUDQRIIHQVHOLVWHGLQ86&E J  % IRU
                        ZKLFKWKHSULVRQWHUPLV\HDUVRUPRUH
                DQRIIHQVHIRUZKLFKWKHPD[LPXPVHQWHQFHLVGHDWKRUOLIHLPSULVRQPHQW
                DQRIIHQVHIRUZKLFKDPD[LPXPSULVRQWHUPRIWHQ\HDUVRUPRUHLVSUHVFULEHGLQ
                        
                DIHORQ\FRPPLWWHGDIWHUWKHGHIHQGDQWKDGEHHQFRQYLFWHGRIWZRRUPRUHSULRUIHGHUDORIIHQVHVGHVFULEHGLQ
                        86& I  $  & RUFRPSDUDEOHVWDWHRUORFDORIIHQVHV
                DQ\IHORQ\WKDWLVQRWDFULPHRIYLROHQFHEXWLQYROYHV
                                 DPLQRUYLFWLP
                                   WKHSRVVHVVLRQRUXVHRIDILUHDUPRUGHVWUXFWLYHGHYLFHRUDQ\RWKHUGDQJHURXVZHDSRQ
                                   DIDLOXUHWRUHJLVWHUXQGHU86&
  7KHRIIHQVHGHVFULEHGLQILQGLQJ  ZDVFRPPLWWHGZKLOHWKHGHIHQGDQWZDVRQUHOHDVHSHQGLQJWULDOIRUDIHGHUDOVWDWH
               RUORFDORIIHQVH
  $SHULRGRIOHVVWKDQ\HDUVKDVHODSVHGVLQFHWKHGDWHRIFRQYLFWLRQGHIHQGDQW¶VUHOHDVHIURPSULVRQIRUWKH
               RIIHQVHGHVFULEHGLQILQGLQJ  
  )LQGLQJV    DQG  HVWDEOLVKDUHEXWWDEOHSUHVXPSWLRQWKDWQRFRQGLWLRQZLOOUHDVRQDEO\DVVXUHWKHVDIHW\RIDQRWKHU
               SHUVRQRUWKHFRPPXQLW\,IXUWKHUILQGWKDWGHIHQGDQWKDVQRWUHEXWWHGWKDWSUHVXPSWLRQ
                                                                                  Alternative Findings (A)
  ✔  7KHUHLVSUREDEOHFDXVHWREHOLHYHWKDWWKHGHIHQGDQWKDVFRPPLWWHGDQRIIHQVH
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                  ✔ IRUZKLFKDPD[LPXPSULVRQWHUPRIWHQ\HDUVRUPRUHLVSUHVFULEHGLQ
               
                        
                         Controlled Substances Act (21 U.S.C. 801 et seq.)
                XQGHU86& F 
  7KHGHIHQGDQWKDVQRWUHEXWWHGWKHSUHVXPSWLRQHVWDEOLVKHGE\ILQGLQJ  WKDWQRFRQGLWLRQRUFRPELQDWLRQRIFRQGLWLRQV
               ZLOOUHDVRQDEO\DVVXUHWKHGHIHQGDQW¶VDSSHDUDQFHDQGWKHVDIHW\RIWKHFRPPXQLW\
                                                                                  Alternative Findings (B)
  7KHUHLVDVHULRXVULVNWKDWWKHGHIHQGDQWZLOOQRWDSSHDU
  ✔  7KHUHLVDVHULRXVULVNWKDWWKHGHIHQGDQWZLOOHQGDQJHUWKHVDIHW\RIDQRWKHUSHUVRQRUWKHFRPPXQLW\
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                                                             Part II – Statement of the Reasons for Detention
            ,ILQGWKDWWKHWHVWLPRQ\DQGLQIRUPDWLRQVXEPLWWHGDWWKHGHWHQWLRQKHDULQJHVWDEOLVKHVE\FOHDUDQGFRQYLQFLQJ                       ✔
HYLGHQFHDSUHSRQGHUDQFHRIWKHHYLGHQFHWKDW
  defendant is an unemployed 33-year-old man. He has no visible means of support beyond public assistance. He lives with his
  sister and has fathered five children from four relationships. Defendant has an admitted substance abuse habit. His criminal
  record includes an armed robbery conviction, assault with a deadly weapon and firearms offenses. Defendant was free on bond
  on a state-court drug case when he committed the offense alleged in the indictment. In addition, he was using drugs in
  violation of his state bond. These violations of state bond clearly demonstrate that he will continue to pose a danger if released
  by this court.

                                               Part III – Directions Regarding Detention
         7KHGHIHQGDQWLVFRPPLWWHGWRWKHFXVWRG\RIWKH$WWRUQH\*HQHUDORUDGHVLJQDWHGUHSUHVHQWDWLYHIRUFRQILQHPHQWLQD
FRUUHFWLRQVIDFLOLW\VHSDUDWHWRWKHH[WHQWSUDFWLFDEOHIURPSHUVRQVDZDLWLQJRUVHUYLQJVHQWHQFHVRUKHOGLQFXVWRG\SHQGLQJ
DSSHDO7KHGHIHQGDQWPXVWEHDIIRUGHGDUHDVRQDEOHRSSRUWXQLW\WRFRQVXOWSULYDWHO\ZLWKGHIHQVHFRXQVHO2QRUGHURI8QLWHG
6WDWHV&RXUWRURQUHTXHVWRIDQDWWRUQH\IRUWKH*RYHUQPHQWWKHSHUVRQLQFKDUJHRIWKHFRUUHFWLRQVIDFLOLW\PXVWGHOLYHUWKH
GHIHQGDQWWRWKH8QLWHG6WDWHVPDUVKDOIRUDFRXUWDSSHDUDQFH
 Date:            September 28, 2010                                                Judge’s Signature: /s/ Joseph G. Scoville
                                                                                        Name and Title: Joseph G. Scoville, U.S. Magistrate Judge

 ,QVHUWDVDSSOLFDEOH D &RQWUROOHG6XEVWDQFHV$FW 86&HWVHT  E &RQWUROOHG6XEVWDQFHV,PSRUWDQG([SRUW$FW 86&HWVHT RU F 6HFWLRQRI$FWRI6HSW 86&D 
